Case 09-71616-jem Doc1 Filed 05/04/09 Entered 05/04/09 16:13:50 Desc

Official Form 1 (1/08) Voluntary Petition Page 1 of 16

United States Bankruptcy Court Voluntary Petition
NORTHERN DISTRICT OF GEORGIA

Name of Debtor tif individual. enver Last. First, Middley: Name of Joint Debtor (Spouse} Last, First, Middle):

MASON, ROBERT

AM Other Names used by the Debtor in the last 8 years All Other Names used by the Joint Debtor in the last 8 years

(include married, maiden, and trade names): (include married, maiden, and trade names):

NONE

Last four digits af Soc, Sec. or Indvidual-Taxpayer LD. (ITIN) No.Complete EIN Last four digits of Soc. Sec, or Indvidual- Taxpayer 1.D_ (FT EN} No/Comptete EEN

(if more than one, state al}; 3047 (if'more than one, state ally:

Street Address of Debtor (No. & Street, City. and State): Street Address of Joint Debtor (No. & Street, City, and State):

712 PARK RIDGE CIRCLE

Maxietta GA ZIPCODE ZIPCODE
30068

County of Residence or of the County of Residence or of the

Principal Place of Business: COBB Principal Place of Business:

Mailing Address of Debtor —_ if different from street address): Mailing Address of Joint Debtor —_{if different from strect address):

SAME :
ee , ZIPCODE

Location of Principal Assets of Business Debtor / FPCODE

(if differen from surcet address above): NOT APPLICABLE "

Type of Debtor (Form of organization) Nature of Business Chapter of Bankruptcy Code Under Which
(Check one box.) the Petition is Filed (Check one box)
(Check gne box.) C1 bealth Care Basi
wS1ness ye =
BX] Individual (includes Joint Debtors) . us . a cnet? O Chapier 15 Peston for Recognition
i jt
See Exhibit D on page 2 af this farm. O ace sotstm . Sens O Chapter 11 ota roreign Main Proceeding
in SC. § (5 . ..
Oo Corporation (includes LLC and LLP) 0 Chapter 12 Oo Chapter 15 Petition for Recognition

[1] Raitroad ofa Foreign Nonmain Proceeding

P. hi Chapter [3
C1 Partnership (I stockbroker Ba} Chapter
oO (nher (if debtor is not one of the above q c dity Broker Nature of Debts = (Check one box)
: . OMT
emuties, check this box and state type of oO Ex) Debts are primarily consumer debts, defined [[] Debts are primarily
entity below Clearing Bank in 11 U.S.C. § 101(8) as “incurred by an business debts.
(other individual primarily for a personal, family.

or household purpose”

Tax-Exempt Entity
(Check box, if applicable.) Chapter it Debtors:

[J Debior is a tax-exempt organization Check one box:
under Title 26 of the United States [7] Debtor is a smalt business as defined in 11 U.S.C. § 101(51D).

Code (the Internal Revenue Code). | [J Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Filing Fee (Check one box) Check i€:
CI ewi Filing Fee attached Oo Debtor's ageregate noncontingent liquidated debts (excluding debts owed
Filing Fee to be paid in installments (applicable to individuals only}. Must attach to insiders or affiliates) are less than $2,190_000.
signed application for the court’s consideration certifying thatthe debtorisunable ff
to pay fee except in installments. Rule 1006(b). See Official Form 3A. Check all applicable boxes:

(1 A plan is being filed with this petition i
(FD Acceptances of the plan were solicited prepetition from one or more
classes of creditors. in accordance with 11 U.S.C. § 1126(b).

Cl Filing Fee waiver requested (applicable to chapter 7 individuals only). Must attach
signed application for the court's consideration. See Offi cial Form 38,

THIS SPACE IS FOR COURT USE ONLY

iAY 04 FOOS Pua 08

Statistical/Administrative Information
0 Debtor estimates that funds will be available for distribution to unsecured creditors.

EX} Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.

Estimated Number of Creditors
i O O

O C O O O Oo

1-49 50-99 100-199 200-999 1,000 $.001- 10,001. 25.001- 50.00, “

5.000 10,000. 25.000 30,000 100.000 Ty wo

> ot 2}

Estimated Assets c e.

Sf, we

S010 30.001 to F100.001 10 «= $500,001 7,000,001 310,000,001  $50.000.00t © 700.000,001 — $500.000,001~ idre than ra

$50,000 $100.00 $500,000 Wo $I to $10 ly $350 to $100 10 $500 ta $1 billion © gM gion ra

million million million million million x an?

Estimated Liabilities * D
$00 $50.001 10 $1ID0.0 to §=— $500,001 $1,000,001 510,000,001 — £50.000,001 += $100,000,001 + §500.000,001 re Iban 7 “ty:
$50,000 $100.00 £500,000 to $I to $10 lo $30 to $100 to $400 lo $1 billion illion 7

milion million million million million \

y

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Voluntary Petition Page 2 of 16

Official Form 1 (1/08) FORM Bi, Page
Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case) ROBERT MASON
All Prior Bankruptcy Cases Filed Within Last 8 Years Uf more than two, attach additional sheet)
Location Where Filed: Case Number: Date Filed:
NORTHERN DISTRICT OF GEORGIA 08-82235 11/03/2008
Location Where Filed: Case Number: Date Fited:
Pending Bankruptcy Case Filed by any Spouse, Parmer or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
ONE
District: Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is required to file periodic reports (To be completed if debtor is an individual
{e.g.. forms 10K and 18Q) with the Securities and Exchange whose debts are primarily consumer debts)
Commission pursuant to Section [3 or 15(d) of the Securities I, the attorney for the petitioner named in the foregoing petition, declare that I
Exchange Act of 1934 and is requesting relief under Chapter 11) have informed the petitioner that [he er she] may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, and have explained the relief available under
each such chapter. I further certify that I have delivered to the debtor the notice
required by 1} ULS.C. §342(b).
(1) Exhibit A is attached and made a part of this petition xX 05/04/2009
Signauure of Auorney for Debtorés) Date
Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

(Js Yes. and exhibit C is attached and made a part of this petition.
<} No

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed. each spouse must complete and attach a separate Exhibit D.)

—X) Exhibit D completed and signed by the debtor is attached and made part of this petition.
If this is a joint petition:

( _ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

Information Regarding the Debtor - Venue
(Check any applicable box)

&&] Debtor has been domiciled or has had a residence. principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

Cl There is a bankruptcy case conceming debtor's affiliate, general parmer, or partnership pending in this District.

O Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no

principal place of business or assets in the United States but is a defendant in an action proceeding [in a federat or state court] in this District, or
the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

() Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

(Name of landlord that obtained judgment}

(Address of landlord)

(3) Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted te cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

CJ Debtor has inctuded with this petition the deposit with the court of any rent that would become due during the 30-day
period after the filing of the petition.

CJ] Debtor certifies thar he’she has served the Landlord with this certification. (11 USC. § 3621).

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Official Form 1 (1/08)

Voluntary Petition

Page 3 of 16 FORM BI, Page

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):

ROBERT MASON

Signatures

Signature(s) of Debtor(s) (Individual/Joint}

] declare under penalty of perjury that the information provided in this
petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] I am aware that I may proceed
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to
proceed under chapter 7.

{ifno attomey represents me and no bankruptcy petition preparer
signs the petition] I have obtained and read the notice required by
lt U.S.C. §342(b)

I request relief in accordance with the tér pf title 11, United States
Code, specified in this petition. mG {
X /s/ ROBERT MASON l, 2 Agee te
Signature of Debior
xX
Signature of Jom Debtor

770-256-0070

Telephone Number (if not represenicd by attomey)

05/04/2009

Dale

Signature of a Foreign Representative

T declare under penalty of perjury that the information provided in this
petition is true and correct, that | am the foreign representative of a debtor
in a foreign proceeding, and that I am authorized to file this petition,

(Check only one box.)

(LJ I request relief in accordance with chapter 15 of title 11, United States
Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
attached.

LJ Pursuant to 11 U.S.C. § 1511, 7 request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the order
pranting recognition of the foreign main proceeding is attached.

x

(Signature of Foreign Representative)

(Printed name of Foreign Representative)

05/04/2009

(Date)

Signature of Attorney*

x

Signature of Attomey for Debtor(s}

Printed Name of Auorney for Debtor(s)

Firm Name

Address

Telephone Number

Daic

*Ina case in which § 707(b)(4)(D) applies, this signature also
constitutes a Certification that the attomey has ne knowledge after
an inquiry that the information in the schedules is incorrect.

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) | am a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; (2) ] prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under 11 U.S.C. §§ 110(b), 1 10(h),
and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers. | have given the debtor notice of the
maximum amount before preparing ary document for filing for a debtor or
accepting any fee from the debtor, as required in that section. Official Form
19 is attached.

Leshon Stewart

Printed Name and title, if any, of Bankruptcy Petition Preparer
0099

Social-Security number (EH the bankruptcy petition preparer is not an
individual, state the Social-Security number of the officer, principal,
responsible "person or partner of the bankruptcy petition preparer.) (Required
by 11 U.S.C. § 110)
P.O. Box 1258

Address f, Vl

Conley GA 30288 {

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in
this petition is tue and correct, and that I have been authorized to
file this petition on behalf of the debtor.

The debtor requests the relief in accordance with the chapter of tide
11, United States Code, specified in this petition.

xX

Signauure of Authorized Individual

Printed Name of Authorized Individual

Title of Authorized Individual
05/04/2009

Date

X/s/ Leshon Stewart
05/04/2009

Date

Signature of bankruptcy petition preparer or officer, principal, responsible
person, or partner whose Social-Security number is provided above.

Sf

Names and Social-Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individual.

If more than one person prepared this document, attach additional sheets
conforming to the apprepriate official form for each person.

A bankrupicy petition preparer’s failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may resuit in fines or
imprisonment or both, 11 U.S.C. $110: 18 U.S.C. § 156.

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

inte ROBERT MASON Case No.
Chapter 13

Debtor(s)

EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. lf your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors‘ collection activities.

Every individual debtor must fite this Exhibit D. if a joint petition is fied, each spouse must complete and file a separate
Exhibit D. Check one of the five siatements below and attach any documents as directed.

Ol 1. Within the 180 days before the filing of my bankruptcy case, _| received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and | have a certificate from the agency describing the
services provided to me. Aftach a copy of the certificate and a copy of any debi repayment plan devefoped through the agency.

fl 2. Within the 180 days before the filing of my bankruptcy case, _| received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but | do not | have a certificate from the agency describing
the services provided tome. You musi file a copy of a ceriificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.

oO 3. | certify that | requested credit counseling services from an approved agency but was unable to obtain the
services during the five days from the time 1 made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so | can file my bankruptcy case now.

{Summarize exigent circumstances here]

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
fite your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.

Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
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oO 4. Fam not required to receive a credit counseling briefing because of: {Check the applicable statement}
[Must be accompanied by @ motion for determination by the court}
oO incapacity, (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
80 as to be incapable of realizing and making rational decisions with respect to financial responsibilities. ),
Oo Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
OC Active military duty in a military combat zone.

0 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
of 11 U.S.C. § 109(h} does not apply in this district.

I certify under penalty of perjury that the informa’ on Bi ovided hove is true and correct.
Signature of Debtor: /s/ ROBERT MASON ! () j ai ”

Date’ 05/04/2009

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UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attomey to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
tecetve a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget
and credit counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved

financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence
and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under §
707(b) of the Code. It is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
not discharged.
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Chapter 13: Repayment of AH or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)

1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
dollar amounts set forth in the Bankruptcy Code.

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
local rules of the court.
Certificate of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor this
notice required by § 342(b) of the Bankruptcy Code.

LESHON STEWART 0099

Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: ce preparer is not an individual, state the Social Security
P.O. BOX 1258 number of the officer, principal, responsible person, or
CONLEY, GA. partner of the bankruptcy petition preparer.) (Required

x by 11 U.S.C. § 116.)
7

Signature of Bankruptcy Petition Preparer or officer,

principal, responsible person, or partner whose Social

Security number is provided above.

Certificate of the Debtor 4
1(We), the debtor(s), affirm that I (we) have received and read this notice.
ROBERT MASON X /si ROBERT MASON Ne
Printed Name(s) of Debtor(s) Signature of Debtor : Date
Case No. (if known) x

Signature of Joint Debtor (if any) Date
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UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Inte ROBERT MASON
Case No.
Chapter 23

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110fh)(2)}

4. Under 11 U.S.C. § 140(h), | declare under penalty of perjury that | am not an attorney or employee of an
attorney, that | prepared or caused to be prepared one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behaif of the
debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services, | have agreed te accept............... $ 500.00
Prior to the filing of this statement | have received................-....- $ 250.00
Balance Due... 1. ee ee $ 250.00

2. | have prepared or caused to be prepared the following documents (itemize):
VOLUNTARY PETITION, EXHIBIT D, CREDITOR'S MATRIX, STATEMENT OF SOCIAL SECURITY
NUMBER, B201, B19, DEBTOR'S PRO SE AFFIDAVIT

and provided the following services (itemize):

3. The source of the compensation paid to me was:
XI Debtor
CO) Other (Specify)

4. The source of compensation to be paid to me is:
EJ Debtor
C! Other (Specify)

5. The foregoing is a compiete statement of any agreement or arrangement for payment to me for preparation of
the petition filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with
this bankruptcy case except as listed below:

NAME SOCIAL SECURITY NUMBER
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DECLARATION OF BANKRUPTCY PETITION PREPARER

i declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge,
information, and belief.

X /s/ Leshon Stewart 0099 05/04/2009
Signature Social Security number of bankruptcy Date

les hw nn C4 Cf very to petition preparer (If the bankruptcy

- ——— } tition preparer is not an individual,
Printed name and title, if any, of Bankruptcy pe : :
Petition Preparer state the Social Security number of the

officer, principal, responsible person or
partner of the bankruptcy petition preparer.)
(Required by 11 U.S.C. § 110.)

Name (Print}:Leshon Stewart
Address: P.O. Box 1258
Conley GA 30288

A bankruptcy petition preparer's failure to comply with the provisions of tile 11 and the Federal Rufes of Bankruptcy Procedure may
result in fines or impnsonment or both. 117 U.S.C. § 170; 18 U.S.C. § 156.
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B3A (Official Form 3A) (12/07) continued

CERTIFICATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 USC §110)

I declare under penalty of perjury that: (1) | am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) | prepared this decument for compensation and
have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); (3) if rules or guidlines have
been promulgated pursuant to U.S.C. § 140(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, | have given the debtor notice of the
maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required under that section; and (4) | will not accept any
additional money or other property from the debtor before the filing fee is paid in full.

Leshon Stewart 0099
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by 11 U.S.C § 110.)

ihe bankruptcy petition preparer is not an individual, state the name, title (if any), address. and social security number of the officer, principal, responsible
person, or partner who signs ihe document.

P.O. Box 1258

Conley GA 30288 J

Address -

X/s/ Leshon Stewart _ S A © GF
‘ t

Leshon Stewart Dyte

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is
not an individual:

if more fhan one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankrupty petition preparer’s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptey Procedure may result in fines or imprisonment or both.

WT US.C. $116; 18 USC §156,

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B19 (Official Form 19) (12/07)

United States Bankruptcy Court
NORTHERN District Of GEORGIA

In re ROBERT MASON Case No.
Debtor

Chapter 13

DECLARATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
in 11 U.S.C. § 110; (2) I prepared the accompanying document(s) listed below for compensation
and have provided the debtor with a copy of the document(s) and the attached notice as required
by 11 U.S.C. §§ 110(b), 110¢h), and 342(b); and (3) if rules or guidelines have been promulgated
pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeabie by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any
document for filing for a debtor or accepting any fee from the debtor, as required by that section.

Accompanying documents: Printed or Typed Name and Title, if any, of
VOLUNTARY PETITION Bankruptcy Petition Preparer:

EXHIBIT D LESHON STEWART

STATEMENT OF SOCIAL SECURITY NUMBER Sociai-Security No. of Bankruptcy Petition
CREDITOR'S MATRIX Preparer (Required by 11 U.S.C. § 110):
DEBTOR'S PRO SE AFFIDAVIT 0099

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address,
and social-security number of the officer, principal, responsible person, or parter who signs
this document.

P.O. BOX 1258, CONLEY, GA. 392887

Address
X_ /siLESHON STEWART S 7 / oF
Signature of Bankruptcy Petition Preparer Date 7

Names and social-security numbers of all other individuals who prepared or assisted in preparing
this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the
appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal
Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C, § 110; 18
U.S.C, § 156,
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B19 (Official Form 19) (12/07) - Cont. 2

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER
[Must be filed with any document(s) prepared by a bankruptcy petition preparer]

I am a bankruptcy petition preparer. | am not an attorney and may not practice law or give
legal advice. Before preparing any document for filing as defined in § 1 10(a)(2) of the Bankruptcy
Code or accepting any fees, I am required by law to provide you with this notice concerning
bankruptcy petition preparers. Under the law, § 110 of the Bankruptcy Code (11 U.S.C. § 110), lam
forbidden to offer you any legal advice, including advice about any of the following:

. whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

. whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

. whether your debts will be elimimated or discharged in a case under the Bankruptcy Code;

. whether you will be able to retain your home, car, or other property after commencing a case
under the Bankruptcy Code;

* the tax consequences of a case brought under the Bankruptcy Code;

: the dischargeability of tax claims;

* whether you may or should promise to repay debts to a creditor or enter into a reaffirmation
agreement with a creditor to reaffirm a debt;

° how to characterize the nature of your interests in property or your debts; or

. bankruptcy procedures and rights.

[The notice may provide additional examples of legal advice that a bankruptcy petition preparer is
not authorized to give.]

In addition, under 11 U.S.C. § 110(h), the Supreme Court or the Judicial Conference of the
United States may promulgate rules or guidelines setting a maximum allowable fee chargeable by a
bankruptcy petition preparer. As required by law, I have notified you of this maximum allowable
fee, if any, before preparing any document for filing or accepting any fee from you.

/s/ ROBERT MASON \ Ks se
= Co

Signature of Debtor / Date

Joint Debtor (if any) Date

[In a joint case, both spouses must sign]

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

In re ROBERT MASON Case No.
Chapter 13

/ Debtor

Attomey for Debtor: In Pro Per

VERIFICATION OF CREDITOR MATRIX

The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

best of our knowledge.

HAY -
Date: 05/04/2009 /s/ ROBERT MASON y |_| he
F x

Debtor
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McCalla, Raymer, LLC
1544 GCld Alabama Road
Roswell, GA 30076

Desc
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Voluntary Petition Page 15 of 16

U. S. FANKRUPTCY COURT
NORTHERN LISTRICT GF GEORGIA
ATLANTA DIVISION

# 02126191 - JV

Mey 4, 2009
Code Case No Qty Amount By
131 09-71616 1 $0.00 CA

Judge - Not Assigned
Debtor - R. MASON

TOTAL: $0.00

FROM: Robert Mason
712 Park Sidge Circle
Marietta, GA 30068

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Voluntary Petition

CASE NUMBER: 09 ” 7 1 6 1 6

Intake Clerk:

Non-Business or Business

Complete or Incomplete

Paid

JUDGE:

CHAPTER: 1
f Date: MAY ~ 4 2009

*IFP Filed

5

( 02d - Chapter 11/13 Order Denying $ JLT4E due.

__. 02g - Chapter 7 Order Granting

Orders on Fee Application
p7 02g - Chapter 11/13 Order Granting 2 Installments of $

__ 03g - Chapter ]] Order Granting -10 day (3 Installments of $339.00, $350.00 & $350.00.)
3g - Chapter 13 Order Granting -10 day (3 Installments of $75.00, $99.50 & $99.50.)

Order Issued

each.

Missing Documents:

ven Affidavit
orm B21

( ) Matrix - Requires separate Order

( ) Voluntary Petition not on Official Form One
( ) Exhibit D

( ment of Financial Affairs
(GSaedues AB CDEEFGHI4
( Teematy of Schedules

( 7 Suatotion Summary , .

€-F Declaration Page for Summary & Schedules
( } Statement of Intent (Ch. 7)

( )Attomey Disclosure Statement
( ) Petition Preparer Disclosure Statement

{ ) Declaration & Signature of Non-Attorney Bankruptcy Petition Preparer

Petition Deficiencies:

( ) Name

( ) Last 4 digits of ssn
( ) Address

( } County

{ ) Type of Debtor
( ) Chapter

( ) Nature of Debts

(_ ) Statistical Estimates
( } Venue

( )} Signatures

{ ) Fee Application not filed

( ) Notice to Individual Consumer Debtor (Form 342b)
( _siemen of Current Monthly Income/Means Test
(7) Chapter 13 Plan, complete with signature(s)
(_-}+Certificate of Credit Counseling.

( Motion for Determination (Exigent Circumstances)
Yay Pay Advices

( ) Corporate Resolution (Business Ch. 7 & 11)
( }20 Largest Unsecured Creditors (Business Ch. 11)
( ) List of Equity Security Holders (Business Ch. 11).

( ) Small Business - Balance Sheet
( ) Sma!] Business - Statement of Operations

{ ) Small Business - Cash Flow Statement

NOTES;

( ) Small Business - Federal] Tax Returns

Rev 12/07

HsSHARED\ASUPPORTForms\Petition Cover Sheet
